      Case 1:20-cv-09586-LAK Document 252 Filed 09/26/22 Page 1 of 10




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ANTHONY RAPP,                               Case No. 1:20-cv-09586 (LAK) (SDA)

                          Plaintiffs,

  -against-

KEVIN SPACEY FOWLER a/k/a KEVIN SPACEY,

                         Defendant.




  DEFENDANT KEVIN SPACEY FOWLER’S TRIAL BRIEF RE CERTAIN ISSUES



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         Case 1:20-cv-09586-LAK Document 252 Filed 09/26/22 Page 2 of 10




       Defendant Kevin Spacey Fowler (“Mr. Fowler”), by and through his counsel, respectfully

submits this trial brief regarding certain issues.

I.     INTRODUCTION

       Plaintiff Anthony Rapp’s claims all are based on a single incident in 1986 in which he

claims defendant Kevin Spacey Fowler made a “sexual advance” on him when Plaintiff was 14

years old. Plaintiff admits the incident involved no groping, no touching of genitals, no undressing,

no kissing, and no words of a sexual nature. He claims the entire incident lasted less than a minute.

For this, Plaintiff seeks $40 million from Mr. Fowler, comprising $10 million in emotional pain

and suffering and $30 million in punitive damages. Mr. Fowler vehemently denies the allegations

and asserts the alleged incident never occurred.

       The Court is well aware of the factual background of this case, and the parties previously

have submitted witness lists, exhibit lists, deposition designations, and other information in the

Joint Pretrial Order. Mr. Fowler also has separately filed motions in limine about discrete issues

and evidence. Mr. Fowler therefore focuses this brief on certain issues Mr. Fowler wishes to

address with the Court before trial.

II.    PLAINTIFF’S BURDEN OF PROOF

       A.      Plaintiff Bears Burden Of Proof On His Two Remaining Causes Of Action

       Plaintiff’s Verified Complaint asserted three causes of action. The Court previously

granted Mr. Fowler’s motion for summary judgment in part and dismissed Plaintiff’s assault cause

of action. See ECF No. 217. Plaintiff’s two remaining causes of action are for (1) battery and (2)

intentional infliction of emotional distress (“IIED”).1 Plaintiff must prove for each element of his



1
       The Verified Complaint also included three causes of action from former plaintiff C.D.,
whose claims were dismissed with prejudice after C.D. refused to plead in his actual name as
required by the Federal Rules of Civil Procedure. As set forth in Mr. Fowler’s Motion in Limine

                                                     1
        Case 1:20-cv-09586-LAK Document 252 Filed 09/26/22 Page 3 of 10




two claims. See, e.g., ECF No. 161 at p. 2.

       Under New York law, Plaintiff’s cause of action for battery requires proof “that there was

bodily contact, made with intent, and offensive in nature.” Cotter v. Summit Sec. Services, Inc.,

788 N.Y.S.2d 153, 154 (2005) (internal quotations omitted); ECF No. 161 at p. 12 (Mr. Fowler’s

proposed jury instructions re battery). Plaintiff’s cause of action for IIED requires a showing of

“(i) extreme and outrageous conduct; (ii) intent to cause, or disregard of a substantial probability

of causing, severe emotional distress; (iii) a causal connection between the conduct and injury; and

(iv) severe emotional distress.” Rich v. Fox News Network, LLC, 939 F.3d 112, 122 (2d Cir. 2019)

(quoting Howell v. N. Y. Post Co., Inc., 596 N.Y.S.2d 350, 353 (N.Y. 1993)); ECF No. 161 at pp.

12-13 (Mr. Fowler’s proposed jury instruction re IIED).

       B.      Plaintiff Bears The Burden Of Showing The Child Victims Act Applies To His
               Claims

       It is undisputed that the statute of limitations for an action to recover damages for battery

or IIED is one year from the alleged act. See N.Y. CPLR § 215(3). It is further undisputed that

Plaintiff’s claims center on a single incident alleged to have occurred in 1986. See ECF No. 6-1

(Verified Complaint) at ¶¶ 4-10. Mr. Fowler’s Answer to the Complaint asserts an affirmative

defense that all claims are barred by the statute of limitations. See ECF No. 7 at p. 9.

       Plaintiff contends his claims are not barred by the statute of limitations because of New

York’s Child Victims Act (“CVA”), which temporarily revived a narrow set of claims otherwise

barred by the statute of limitations. Plaintiff repeatedly has conceded his causes of action would

all be time-barred if not for the Child Victims Act. In his initial motion to remand, Plaintiff

acknowledged, “At the time Mr. Rapp came forward, the applicable statute of limitations had long



No. 5, Plaintiff and his counsel should be precluded from referencing C.D., his allegations, or his
claims at trial.

                                                 2
         Case 1:20-cv-09586-LAK Document 252 Filed 09/26/22 Page 4 of 10




since passed and he was unable to pursue any legal action against Spacey.” See ECF No. 11-2 at

p. 3. And in a later filing, Plaintiff noted: “Pursuant to New York’s Civil Practice Law and Rules

section 208, any civil claim would have been tolled until Mr. Rapp reached 18, or until

approximately October 1989, at which point the one-year statute of limitations applicable to claims

of intentional torts would begin to run pursuant to CPLR 215(3). Mr. Rapp’s ability to file a civil

claim in New York against Spacey for the sexual assault was barred as of October 1990 until the

CVA was signed into law on February 14, 2019.” See ECF No. 95 at p. 7, fn 2.

        The claim revival provision of the Child Victims Act provides:

                [E]very civil claim or cause of action brought against any party alleging
                intentional or negligent acts or omissions by a person for physical, psychological,
                or other injury or condition suffered as a result of conduct which would
                constitute a sexual offense as defined in article one hundred thirty of the
                penal law committed against a child less than eighteen years of age, . . .
                which is barred as of the effective date of this section because the applicable
                period of limitation has expired, and/or the plaintiff previously failed to file a
                notice of claim or a notice of intention to file a claim, is hereby revived, and
                action thereon may be commenced not earlier than six months after, and not later
                than two years and six months after the effective date of this section.

See N.Y. CPLR § 214-g (emphasis added).2 The Child Victims Act relied upon by Plaintiff

therefore applies to resuscitate his claims only if they constitute a “sexual offense” as defined in

Article 130 of the New York Penal Law. If Plaintiff does not satisfy his burden of showing the

wrongdoing he alleges meets the requirements of a “sexual offense” under New York law, Plaintiff

cannot recover on any of his claims.

        Plaintiff previously suggested he need not prove a violation of Article 130 of New York’s

Penal Law as a condition of his claims. This is plainly incorrect. While Mr. Fowler may have the

initial burden on his statute of limitations defense, he has easily met it here. In fact, it is undisputed.



2
       N.Y. CPLR § 214-g also applies to claims for incest and use of a child in a sexual
performance, but Plaintiff does not allege either type of conduct.

                                                    3
           Case 1:20-cv-09586-LAK Document 252 Filed 09/26/22 Page 5 of 10




There is no dispute the one-year statute of limitations applies to all of Plaintiff’s claims under N.Y.

CPLR § 215(3). Nor is there any dispute that the one-year period began when Plaintiff turned

eighteen years old and then lapsed in October 1990. Id.; see also N.Y. CPLR §§ 208, 215(3).

       Plaintiff therefore relies on the CVA’s claim-revival provision as an exception to the statute

of limitations that saves his claims, because they allegedly are based on “conduct which would

constitute a sexual offense as defined in article one hundred thirty of the penal law committed

against a child less than eighteen years of age.” See N.Y. CPLR § 214-g. New York law places

the burden on Plaintiff, not Mr. Fowler, to prove that an exception to the statute of limitations

applies.

       For example, in Osborn v. DeChiara, 87 N.Y.S.3d 97, 99 (2018), the court held that a

plaintiff has the burden of proving an exception to the statute of limitations, stating a defendant

“bears the initial burden of proving, prima facie, that the time in which to commence an action has

expired.” Id. The “burden then shifts to the plaintiff to present evidence raising a triable issue of

fact as to whether the action falls within an exception to the statute of limitations” or whether the

limitations period was tolled. Id. Likewise, in BL Doe 3 v. Female Academy of Sacred Heart, 158

N.Y.S.3d 474, 477 (2021), the court recognized this burden-shifting meant the plaintiff had to

show the CVA’s claims-revival provision applied to her causes of action; the court ultimately

found her claims were time-barred. Id. at 477-478; see also Novartis Pharma AG v. Regeneron

Pharm., Inc., 2022 WL 289384, at *11 (N.D.N.Y. Jan. 31, 2022) (plaintiff bears burden on

equitable estoppel exception to statute of limitations); Zoe G. v. Frederick F.G., 617 N.Y.S.2d 370,

371 (1994) (same re tolling exception); Steo v. Cucuzza, 624 N.Y.S.2d 203, 205 (1995).

       Plaintiff asserts there are two offenses within Article 130 that apply here to revive

Plaintiff’s claims. First, Plaintiff claims the alleged conduct constitutes sexual abuse in the third




                                                  4
        Case 1:20-cv-09586-LAK Document 252 Filed 09/26/22 Page 6 of 10




degree under New York Penal Law Section 130.55. Second, Plaintiff has claimed the alleged

conduct constitutes forcible touching under New York Penal Law Section 130.52. Mr. Fowler

respectfully requests that the Court adopt the jury instructions he submitted which show that

Plaintiff must meet the elements of either Section 130.55 or 130.52 as a precondition to recovery

on either of his causes of action. See, e.g., ECF No. 161 at pp. 9-13.

III.   JURY SELECTION ISSUES

       The parties submitted a Joint Proposed Voir Dire Questions in the form of a written Juror

Questionnaire. See ECF Nos. 160, 160-1. The Court previously stated it will consider the parties’

joint questionnaire in formulating its own examination of prospective jurors. See ECF No. 226.

The Court also stated it would allow counsel to suggest additional questions, which the Court then

would ask prospective jurors as it considered proper. Id.

       Because the parties are publicly known, the allegations have been widely reported, and

Plaintiff has associated his claims with the broader #MeToo movement, some prospective jurors

may have strong opinions – either negatively or positively – about Plaintiff, Mr. Fowler, or the

types of allegations here. Mr. Fowler respectfully requests that the Court instruct any prospective

juror to express such opinions in a sidebar, rather than in front of the entire prospective jury pool.

Because the entire jury pool will be observing voir dire, a prospective juror who volunteers strong

opinions about either party may “poison” the jury pool or some portion of it. Also, given the

publicity of trial and the nature of Plaintiff’s allegations, certain jurors may be comfortable sharing

details relevant to their selection on the jury only to the Court and parties, rather than in front of

the entire jury pool and any observers.

IV.    JURY INSTRUCTIONS

       The parties each submitted proposed jury instructions on March 4, 2022, simultaneously




                                                  5
         Case 1:20-cv-09586-LAK Document 252 Filed 09/26/22 Page 7 of 10




with the Joint Pretrial Order. See ECF Nos. 157, 161. Mr. Fowler also submitted an objection to

Plaintiff’s Proposed Instruction No. 8. See ECF No. 162. Mr. Fowler respectfully requests that

the Court hold a jury instruction conference at or before the close of evidence so the parties can

appropriately address the jury instructions in closing argument.3

        Also, on Friday, September 23, 2022, Plaintiff’s counsel informed Mr. Fowler’s counsel

for the first time they intended to submit a request for a “missing witness” charge due to Mr.

Fowler’s decision not to call Elizabeth Loftus, Ph.D. at a witness at trial. Mr. Fowler strongly

opposes that request. Plaintiff’s counsel’s proposed request is based on a New York state court

procedural rule not applicable to this case. Even if the state procedure applied, Plaintiff still could

not meet the requirements for several reasons, including because Dr. Loftus was listed on

Plaintiff’s witness list and her testimony is available to Plaintiff. Indeed, Plaintiff stated in the

Joint Pretrial Order filed March 4, 2022 that Plaintiff “reserves the right to call or read in deposition

testimony of Elizabeth Loftus, PhD.” See ECF No. 156 at 22.

        Dr. Loftus’s testimony also is not significant to this case, nor could she be expected to give

material testimony given the facts that will be presented at trial. Because expert disclosures were

required before most fact depositions were taken, Mr. Fowler reasonably believed a memory expert

may be needed, especially given Plaintiff’s allegations concerned an alleged incident 35 years

earlier. That was especially true because Plaintiff initially claimed he did share his story for several

years after the alleged incident, only to later change his position to claim he first shared it shortly

after returning from New York in 1986. Discovery ultimately showed Plaintiff is knowingly lying




3
        Mr. Fowler also believes it would be helpful to resolve certain disputes related to the jury
instructions before opening statements, such as Plaintiff’s bearing the burden of showing the
elements of a “sexual offense” under Article 130 of New York’s Penal Law to recover on either
of his claims.

                                                   6
         Case 1:20-cv-09586-LAK Document 252 Filed 09/26/22 Page 8 of 10




about the alleged incident with Mr. Fowler and has been doing so for decades, not that his

allegations result from a false memory.

        Plaintiff’s request for this “missing witness” charge is pure gamesmanship aimed to inflict

unwarranted prejudice on Mr. Fowler for not calling an expert witness whose opinion and expertise

concerns a subject that turned out not to be material to trial. See, e.g., Martinez v. Port Authority

of New York and New Jersey, 2005 WL 214333, at * (S.D.N.Y. Sept. 2, 2005) (“[C]ourts have

been reluctant to find a witness practically unavailable when it appears that the defense has no real

interest in calling the witness to the stand, but merely is engaged in a form of gamesmanship in an

effort to obtain a missing witness charge.”) (internal quotation omitted). Mr. Fowler should not

be penalized for not wasting the Court and jury’s time with a witness whose opinion is not material,

especially given Plaintiff deposed Dr. Loftus and can designate her deposition testimony if he

believes it relevant or significant.

        Further, federal courts routinely hold that even where a party is permitted to call an expert

witness who originally consulted for or was retained by the other side, the parties are prohibited

from eliciting testimony to show that the non-calling party had such a prior engagement of the

expert. See, e.g., Agron v. Trustees of Columbia Univ. in City of New York, 176 F.R.D. 445

(S.D.N.Y. 1997) (“Numerous courts have acknowledged the potentially substantial prejudice

stemming from testimony that reveals an expert’s prior consultation with the opposing party.”);

Rubel v. Eli Lilly & Co., 160 F.R.D. 458, 460 (S.D.N.Y. 1995) (“[P]ermitting one party to call an

expert previously retained or consulted by the other side entails a risk of very substantial prejudice

stemming from the fact of the prior retention, quite apart from the substance of the testimony.”).

        Thus, even if Plaintiff could use some of Dr. Loftus’ testimony at trial, he could not present

evidence Dr. Loftus originally was retained or disclosed as an expert by Mr. Fowler. Plaintiff asks




                                                  7
         Case 1:20-cv-09586-LAK Document 252 Filed 09/26/22 Page 9 of 10




for a “missing charge” charge that – besides being unsupported by the law or facts – would impose

the very prejudice federal courts have guarded against.4

        Plaintiff’s request for a “missing witness” charge should be summarily rejected. If the

Court is inclined to consider Plaintiff’s belated request for a “missing witness” charge at all, Mr.

Fowler respectfully requests it be addressed at a hearing and, if appropriate, further briefing.

V.      CONCLUSION

        Mr. Fowler respectfully respects that the Court consider the above issues and, if deemed

appropriate, address them with the parties before or during trial outside the presence of the jury.

Dated: September 26, 2022                      Respectfully submitted,
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                                               Kevin Spacey


4
        If any “missing witness” charge were appropriate here, it would be applicable to Plaintiff’s
decision not to call numerous witnesses with allegedly supportive evidence which Plaintiff
identified in his F.R.C.P. 26(a) disclosures. But this case is about the witnesses the jury will hear
from, not those that it does not.

                                                  8
       Case 1:20-cv-09586-LAK Document 252 Filed 09/26/22 Page 10 of 10




                                CERTIFICATE OF SERVICE

       In accordance with Local Rule 5.2, I, Jennifer L. Keller, hereby certify that on September

26, 2022 this document filed through the ECF system will be sent electronically to the registered

participants as identified in the Notice of Electronic Filing (NEF) and paper copies will be sent

to those indicated as non-registered participants.


                                              /s/ Jennifer L. Keller
                                                   Jennifer L. Keller




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